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                    UNITED STATES DISTRICT COURT
                                      for the
                            DISTRICT OF CONNECTICUT

Symbology Innovations, LLC,                      )
                                                 )
                       Plaintiff                 )
                                                 )
               v.                                )
                                                 )    Civil Action No. 3:17-cv-01641-
Lego Systems, Inc.,                              )    JBA
                                                 )
                       Defendant.                )
                                                 )


                               NOTICE OF DISMISSAL

       Under the Federal Rule of Civil Procedure 41(a), Symbology Innovations, LLC
(“SI”) voluntary dismisses all claims against Defendant Lego Systems, Inc. without
prejudice, with each party bearing its own attorneys’ fees and costs.


                                                             Respectfully submitted.

                                                            /s/ Daniel R. Cooper
Date: February 8, 2018                               _____________________________
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                                                     Innovations, LLC




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on February 8, 2018, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing
system or by mail and e-mail to attorneys for Defendant Lego Systems, Inc., as indicated
on the Notice of Electronic Filing. Parties may access this filing through the Court’s
CM/ECF System.


                                                               /s/ Daniel R. Cooper
                                                               ________________________
                                                               Daniel R. Cooper

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